Case 1:24-cv-00899-ARR-LKE       Document 1       Filed 02/06/24        Page 1 of 26 PageID #: 1
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                                                       U.S. DISTRICT COURT E.D.N.Y.


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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                       BROOKLYN OFFICE


                                             X
     UNITED STATES OF AMERICA,                    Case No.

                Plaintiff,

    ex rel. RELATOR LLC,a California limited
                                                     CV24-08Q9
                                                  COMPLAINT FOR VIOLATIONl^fp^
                                                  FEDERAL FALSE CLAIMS ACT
    liability company,

                Reiator,                          FILED UNDER SEAL PURSUANT
                                                  TO 31 U.S.C.§ 3730(b)(2)
           V.
                                                                                      ROSS. J.
    MICHAEL WERZBERGER,an individual,
    REBECCA ROZENWEIG,an individual,
    ASTRA HOME CARE,INC, a New York               JURY TRIAL DEMANDED
                                                                                    POLLAK, M.J.
    Corporation dba TRUE CARE HOME
    HEALTH,TRUE FAMILY CARE
    SERVICES LLC,a New York limited
    liability company, HILITE MANAGEMENT
    LLC,a New York limited liability company,
    TRUE CARE SOLUTIONS LLC,a New
    York limited liability company, and DOES 1-
     10,

                Defendants.
                                            -X
Case 1:24-cv-00899-ARR-LKE             Document 1      Filed 02/06/24       Page 2 of 26 PageID #: 2




          Plaintiff RELATOR LLC ("Plaintiff) complains of MICHAEL WERZBERGER, an

   individual, REBECCA ROZENWEIG, an individual, ASTRA HOME CARE, INC, a New

   York Corporation dba TRUE CARE HOME HEALTH ("ASTRA"), TRUE FAMILY CARE

   SERVICES LLC, a New York limited liability company ("AFFILIATE 1"), HILITE

   MANAGEMENT LLC,a New York limited liability company("AFFILIATE 2"),TRUE CARE

   SOLUTIONS LLC, a New York limited liability company ("AFFILIATE 3", together with

   AFFILIATE 1 and AFFILIATE 2, hereinafter collectively, the "AFFILIATES"),and DOES 1-10.

   ASTRA together with the AFFILIATES hereafter the DEFENDANT COMPANIES.

                                     JURISDICTION & VENUE

          1.      This Court has subject matter jurisdiction over the Plaintiffs claims brought under

   the FCA, 31 U.S.C. §§ 3279, et seq., pursuant to 31 U.S.C. §§ 3730 and 3732. This Court has

   supplemental jurisdiction to entertain the common law and equitable causes of action under 28

   U.S.C. § 1367(a).

          2.      PlaintiffThe United States of America is also located in the Eastern District ofNew

   York. This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. § 3732(a)

   because at all times material hereto. Defendants transacted business and are located in the Eastern

   District of New York, and acts proscribed by 31 U.S.C. § 3729 occurred in this district.^

          3.      Venue is proper in this district pursuant to 31 U.S.C.§ 3732(a),and under 28 U.S.C.

   §§ 1391(b) and 1395(a), because the Defendant's acts that form the basis of this Complaint

   occurred in the Eastern District of New York.




  'ASTRA operates throughout New York, and has its headquarters in Brooklyn, New York, in
   the Eastern District of New York.
Case 1:24-cv-00899-ARR-LKE             Document 1        Filed 02/06/24       Page 3 of 26 PageID #: 3




          4.      Relator's claims and this Complaint are not based upon prior public disclosures of

   allegations or transactions in a federal criminal, civil, or administrative hearing in which the

   Government or its agent is a party; in a congressional, Govemment Accountability Office, or other

   federal report, hearing, audit, or investigation; or from the news media. To the extent that there has

   been a public disclosure unknown to Relator, it is the "original source" within the meaning of 31

   U.S.C. § 3730(e)(4)(B)and/or the public disclosure is a result ofRelator voluntarily providing this

   information to the United States Govemment prior to filing this qui tarn action.

                                INTRODUCTION AND SUMMARY

          5.      In this matter the owners and operators ofan assisted living home healthcare agency

   used their business to misappropriate millions of dollars from the US Federal government's

   Paycheck Protection Program ("PPP").In order to obtain thefour(4)separate loans totaling more

   than $15 million^ the Defendants presented many falsified loan documents to the SBA.Defendants

   made false statements to obtain more than the amounts permitted under the program and falsified

   the number of employees on payroll. Defendants did not have any economic need for the loan,

   they simply took advantage. Defendants had no economic need for payroll assistance, assuming

   the loan was used on payroll. Defendants falsified additional documents which were presented to

   the govemment to obtain total loan forgiveness, billing millions to the US taxpayer.

          6.      Michael Werzberger and Rebecca Rozenweig used their assisted living home

   healthcare agency, ASTRA and its affiliates, to apply for and receive four(4)PPP loans totaling

   $15,288,100.00, purportedly to cover payroll costs. However,the Defendants:

          a.      Falsified loan eligibility;

          b.      Falsified the number ofjobs;

          c.      Falsified the need for loan forgiveness;
Case 1:24-cv-00899-ARR-LKE            Document 1         Filed 02/06/24    Page 4 of 26 PageID #: 4




          d.      Falsified the use of the loans on authorized expenses;

          e.      Falsified the economic necessity for the loans; and

          f.      Falsified eligibility for loan forgiveness.

          7.      Falsified Number ofJobs Reported. Each of ASTRA and AFFILIATE 1 claimed to

   have exactly 500 employees, which is not coincidentally the maximum number of employees that

   a borrower could have under the PPP and CARES Act in order to qualify for a PPP loan. Pursuant

   to any reasonable interpretation of ASTRA's and AFFILIATE Ts employee number calculation,

   it is clear that their statements that each had exactlv 500 emplovees is false. The Defendants

   deliberately provided false information on their PPP applications by inflating the number ofjobs

   to obtain larger loan amounts. ASTRA applied for and obtained the near maximum loan amount

   allowed, $9,583,500.00. ASTRA's own LinkedIn shows that the company only employs between

   2 and 10 people. ASTRA does business as True Care Home Health. True Care Home Health's

   LinkedIn page shows that it has between 1,001 and 5,000 employees. Additionally, ASTRA's

   Zoomlnfo shows that ASTRA employs less than 25 people. None of the AFFILIATES has any

   online presence whatsoever. This is because,there is only one business, which is ASTRA dba True

   Home Health Care. The AFFILIATES are all part and parcel of that business. The Defendants

   grossly exaggerated and falsely stated the number of actual employees that they had in order to

   maximize the amount ofloan proceeds that they misappropriated from the government.

          7.     Falsified Loan Eligibilitv - Failure to Apply Affiliation Rules. Relator is informed

   and believes that the DEFENDANT COMPANIES are directly or indirectly, wholly owned and

   controlled by the individual defendants. The SBA's Affiliation Rules require that the total number

   ofan applicant's employees plus the employees of affiliates under common control be included in

   any calculation to determine if a borrower is a "small-business concem." The DEFENDANT
Case 1:24-cv-00899-ARR-LKE           Document 1        Filed 02/06/24      Page 5 of 26 PageID #: 5




   COMPANIES failed to include the number of employees of their affiliates in the total employee

   number calculation and therefore misstated that they were each a small business concern.

          8.      Four (4^) Separate Loans, from three (31 Separate Lenders: Intent to Deceive. The

   COMPANY DEFENDANTS received four (4) separate loans, from three (3) separate lenders,

   despite the fact that every single one ofthe loans was approved within one week ofeach other and

   three of them were approved within one day of each other. The Defendants went through the

   extreme effort of finding separate lenders for the loans, even though every single one of the

   Defendants shares the same physical address in Brooklyn, New York and is allegedly in the same

   line of business. The Defendants used different lenders because they wanted to conceal their fraud.

   Each ofASTRA and AFFILIATE 1 claimed to have exactly 500 employees,the maximum number

   of employees a borrower could have and continue to be eligible for a PPP loan. ASTRA and

   AFFILIATE 1 had to go to different lenders in order to conceal their fraud. AFFILIATE 2 AND

   AFFILIATE 3 also used a different lender from ASTRA and AFFILIATE 1, despite being in the

   same business,same industry, applying at the same exact time and being at the same exact physical

   address. The Defendants thought through their fraud. This was no accident or mistake. The fraud

   was intentional and the actions the Defendants took reflects their desire to mislead the US

   government and steal from the US taxpayer.

          9.      Assisted Living Home Healthcare: Flourishing Amidst the C0VID-I9 Pandemic-

   No Economic Necessitv. The Defendants did not interrupt operations for one single day during the

   pandemic. Their business thrived during the pandemic. In fact, it was evident from the onset ofthe

   pandemic that assisted living home healthcare agencies, like ASTRA, would thrive financially

   during the pandemic, and therefore ASTRA could not in good faith make the Economic Necessity

   Certification. This was evident for a number of reasons at the onset of the pandemic, including,
Case 1:24-cv-00899-ARR-LKE           Document 1        Filed 02/06/24       Page 6 of 26 PageID #: 6




   the clear, unprecedented demand for assisted living home healthcare professionals, their ability to

   rapidly deploy assisted living professionals and scale their business, and increased rates and

   profitability. The outbreak of COVID-19 created an urgent need for assisted living home

   healthcare professionals on an unprecedented scale. The pandemic highlighted the importance of

   quality healthcare and support for seniors and vulnerable populations. As individuals and families

   became more concerned about the risks of communal living and nursing homes, there was an

   increased demand for home healthcare services and assisted living facilities that could provide a

   safer and more personalized care environment. With the emphasis on reducing the risk ofinfection,

   there was a shift towards home-based care. Many individuals and families preferred home

   healthcare services to limit exposure to the virus. This led to an increased demand for services

   such as in-home nursing, personal care, and therapy provided by assisted living home healthcare

   agencies. Home healthcare companies, like ASTRA, with their vast industry knowledge knew

   better than others that this would be the case, and that with their vast networks of qualified

   professionals, they could and did quickly position themselves to meet this surge in demand. By

   providing patients with access to a diverse pool ofhome healthcare workers,these companies,like

   ASTRA,immediately became indispensable in the battle against the pandemic, thereby ensuring

   their financial prosperity. It was immediately clear to ASTRA that they had become indispensable

   and much more profitable long before they submitted their PPP loan application. The ability of

   ASTRA to rapidly deploy personnel was a key factor in its financial triumph during the pandemic.

   Through providing assisted living home healthcare to a vulnerable senior population during the

   covid-19 pandemic, assisted living home healthcare companies, like ASTRA,obtained a windfall

   in exploiting the demand for continuity ofcare. This swift and efficient deployment model allowed

   them to attract more contracts and generate substantial revenues throughout the pandemic. The
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24       Page 7 of 26 PageID #: 7




   surge in demand for healthcare personnel during the COVID-19 crisis gave rise to increased rates

   for these essential services. Plaintiff is informed and believes that assisted living home healthcare

   companies, like ASTRA,capitalized on this opportunity by negotiating higher compensation rates

   for their healthcare professionals. Moreover, with the need for specialized staff reaching critical

   levels, agencies could charge premium rates for scarce specialties, further boosting their

   profitability. The combination of heightened demand, increased rates, and efficient deployment

   strategies resulted in substantial financial gains for assisted living home healthcare companies,like

   ASTRA. The success of assisted living home healthcare companies, like ASTRA, during the

   COVID-19 pandemic was both predictable and impressive.

          10.     No Business Interruption - No Economic Necessitv. On the SBA's website PPP

   loans are described as "[a}n SBA-backed loan that helps businesses keep their workforce

   employed during the COVID-19 crisis." It was called the "paycheck protection program" after all.

   The Defendants were also required to make the economic necessity certification, certifying that

   the "[c]urrent economic uncertainty makes this loan request necessary to support the ongoing

   operations ofthe Applicant." However,this certification would be false ifthere was no interruption

   of the business activities of the applicant. The Defendants did not experience any business

   interruption whatsoever during the pandemic and in fact their business expanded. On March 27,

   2020 in the midst ofthe pandemic, the Defendants' Director of Operations Shana Fireworker took

   to social media and admitted that there was no business interruption with the following message

   to the "home-health aids" who were continuing to work during the pandemic:

          "This message is for our wonderful and dedicated home health-aids who are
          putting themselves out there on thefront line to take care ofour patients in the
          middle of what*s going on around i#s...this crisis...and there are so many health
          concerns. And,all of you are continuing to be dedicated and devoted to our clients.
          And, we are here working in the office, very spread apart but we are here, doing
          everything we can to support you, be available for you and do everything we can
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24      Page 8 of 26 PageID #: 8




          to make the care that you are providing a little bit easier. We just wanted to take a
          moment and thank you so, so much for your dedication, and thank you for being a
          part of our True Care family."

   The Defendants experienced no business interruption. Their Payroll Staff(defined below)and non-

   Payroll Staff all continued to work. Since there was no business interruption, they could not in

   good faith certify that there was economic uncertainty making the PPP Loans necessary.

          11.     Defendants' Business Model-Double Dipping and No Economic Necessity. Home

   healthcare agencies, like the DEFENDANT COMPANIES, are not the end user of the workers

   that they handle, rather they are the middle-men and brokers of such workers. A home healthcare

   agency's client is the individual or business that needs the care services of the healthcare workers

   that the healthcare agency brokers. Outside of a small internal administrative staff, the

   DEFENDANT COMPANIES,like most other home healthcare agencies do not keep the workers

   that they broker as employees on their payroll. Rather, it is only when a client needs a worker that

   the DEFENDANT COMPANIES step in and broker a temporary employment transaction. This

   means that every single time that the DEFENDANT COMPANIES brokers a worker in this

   manner, someone else (the client) is actually paying the worker's salary, and the DEFENDANT

   COMPANIES,as the middle-man,just takes a cut ofthat pay. So,for every single one ofthe more

   than 1,000 employees for which ASTRA and the AFFILIATES received PPP money (outside of a

   very small number ofinternal administrative staff)this necessarily means that the Defendants were

   paid twice, once by the client, next by the US taxpayers. This also means that there was absolutely

   no economic necessity, because the Defendants were never obligated to pay a salary to any ofthese

   workers to maintain its operations, since the only way that their business model requires payment

   to these workers is when the Defendants have brokered a deal for their services. Plainly put.

   Defendants would not pay the workers not to work. Ifthey ever worked,someone else would pay.

   On their applications, ASTRA claimed that 80% of the loan proceeds would be used for salaries
Case 1:24-cv-00899-ARR-LKE              Document 1     Filed 02/06/24       Page 9 of 26 PageID #: 9




   and the AFFILIATES claimed that 100% of the loan proceeds would be used for salaries.

   Interestingly, ASTRA claimed that the remaining 20% ofthe PPP loan would be used for rent, and

   the AFFILIATES made no allocation for rent, even though all of the DEFENDANTS share the

   same office in Brooklyn,New York. The Defendants certified that the economic uncertainty made

   the loan requests necessary to support their ongoing operations. In light of the Defendants'

   business model of only paying an employee, when a client-business was paying that employee's

   salary, there is no conceivable way for this certification to be true. Rather than protecting the

   paychecks of employees, the Defendants received an uneamed $15.2 million windfall from the

   PPP in order to pad their profits.

          12.     Falsified Loan Elieibilitv. ASTRA and the AFFILIATES were ineligible to receive

   PPP loans because non of them was a small-business. On their loan applications, the Defendants

   certified that they employed "no more than the greater of 500 or employees or, if applicable, the

   size standard in number of employees established by the SBA in 13 C.F.R. 121.201 for the

   Applicant's industry." ASTRA and AFFILIATE 1 claimed the maximum number of 500

   employees and received near the maximum loan amount. In falsely claiming 500 employees, each

   of ASTRA and AFFILIATE 1 claimed the maximum number ofemployees that would allow it to

   be exactly at the maximum number of 500 employees to be eligible for a PPP loan. However, if

   ASTRA and AFFILIATE 1's manner of counting employees (i.e. all available workers not on

   payroll)is determinative then they each had thousands ofemployees and were therefore ineligible

   because they were not a small business at the time that they applied for the loan. Furthermore, the

   size standard for businesses in the Defendant's industry(NAICS Code 621610,Home Health Care
Case 1:24-cv-00899-ARR-LKE            Document 1       Filed 02/06/24      Page 10 of 26 PageID #:
                                              10



   Services) was $16,500,000^ as of the date ASTRA's loan was approved, and Relator is informed

   and believes that ASTRA's annual receipts were well in excess of $16,500,000. Among other

   things, it is clear from ASTRA's stated payroll of $9,580,000 for 2.5 months of salaries that the

   annual receipts of ASTRA were far in excess ofthe $16,500,000 maximum. Specifically, ASTRA

   certified that 100% of the $9,580,000 loan was to be used for payroll, which under the PPP and

   CARES Act rules equates to two and one-half(2 V2) months ofsalaries, which annualized is equal

   to annual salaries totaling more than $38 million. Therefore, unless ASTRA operated at a more

   than $30 million dollar loss when it applied for the loan, it had annual receipts in excess of the

   $16.5 million size standard applicable to NAICS Code 621610, Home Health Care Services.

   Accordingly, ASTRA was not a small business and was not eligible to apply for and receive the

   PPP Loan.


          13.     Falsified Use ofLoan Proceeds on Authorized Expenses. On their loan applications,

   ASTRA claimed that 80% of the loan proceeds would be used for salaries and the AFFILIATES

   claimed that 100% of the loan proceeds would be used for salaries. The DEFENDANT

   COMPANIES claimed to have 1,044 employees, when, in truth, only a small number of those

   1,044 employees were internal administrative staff. Therefore, when they certified that the PPP

   loan proceeds would be used for the salaries of such workers, that certification was false.

   Specifically, the Defendants simply used the PPP proceeds to increase their profits.

          14.     Money Not Returned. The loans were taken by a business which was not allowed

   to take even one penny in loans, let alone millions of dollars. The $15,288,100.00 in funds should

   have been returned immediately. These loans should never have been sought in the first place. Yet


   ^ The size standards themselves are expressed either in number ofemployees or annual receipts in
   millions of dollars, unless otherwise specified. The number of employees or annual receipts
   indicates the maximum allowed for a concern and its affiliates to be considered small.
Case 1:24-cv-00899-ARR-LKE            Document 1         Filed 02/06/24      Page 11 of 26 PageID #:
                                              11



   the Defendants went further by obtaining total loan forgiveness, billing the US taxpayers millions

   of dollars. Defendants have not returned the loan proceeds.

          15.     Further Falsification on Loan Forgiveness. Defendants falsified further documents

   to receive loan forgiveness. Defendants had to attest as to the use ofthe funds and the amount used

   on authorized purposes. They were not because Defendants could not comply with the

   requirements of forgiveness given their ineligibility, exorbitant amounts borrowed and false

   statements regarding numbers of employees. So, Defendants also lied on their forgiveness

   documents and application.

          16.     Defendant's False Statements and Fraud. Defendants knowingly and intentionally

   made many materially false statements to the government and bank to obtain the loans.

          17.     Plaintiff brings this action as relator on behalfofthe United States to recover treble

   damages, civil penalties, and costs under the False Claims Act ("FCA"), 31 U.S.C. §§ 3729-33

   Plaintiff gave notice of its intent to file and full disclosure of the evidentiary basis to the

   Department of Justice("DOJ").

                                            THE PARTIES

          18.     Plaintiff is a California limited liability company with its principal place of

   business in Los Angeles, California.

          19.    Defendant Michael Werzberger is an individual and, at all relevant times herein, is

   and was the Chief Executive Officer of ASTRA. Relator is informed and believes that Michael

   Werzberger is and was an owner and controlled each ofthe AFFILIATES.

          20.    Defendant Rebecca Rozenweig is an individual and, at all relevant times herein, is

   and was an officer of ASTRA. Relator is informed and believes that Rebecca Rozenweig is and

   was an owner and controlled each ofthe AFFILIATES.




                                                   10
Case 1:24-cv-00899-ARR-LKE           Document 1        Filed 02/06/24      Page 12 of 26 PageID #:
                                             12



          21.     Defendant Astra Home Care, Inc. is a New York Corporation formed in 2011 with

   its principal place of business located dX 117 Church Avenue, Brooklyn, New York 11218.

          22.     Defendant True Family Care Services, LLC. is a New York limited liability

   company formed in 2016 with its principal place of business located at 117 Church Avenue,

   Brooklyn, New York 11218.

          23.     Defendant True Care Solutions, LLC. is a New York limited liability company

   formed in 2014 with its principal place ofbusiness located at 117 Church Avenue,Brooklyn,New

   York 11218.


          24.     Defendant HiLite Management LLC. is a New York limited liability company

   formed in 2019 with its principal place ofbusiness located at 117 Church Avenue,Brooklyn, New

   York 11218.


          25.     Relator is informed and believes that ASTRA and its AFFILIATES all operate one

   business, which is a home healthcare agency doing business as True Home Health Care in the State

   of New York.


          26.     The true names and capacities, whether individual, partner, associate, corporate or

   otherwise,ofDefendant DOES 1 through 10,inclusive, and each ofthem,are unknown to Plaintiff,

   who therefore sues said Defendant(s) by such fictitious names. Plaintiff is informed and believes

   and thereon alleges that each Defendant designated herein as a "DOE" is legally responsible in

   some manner for the events and happenings herein mentioned. Plaintiff will seek leave of Court

   to amend this Complaint to reflect the true names and capacities ofsaid DOES,and add appropriate

   charging allegations against said DOES when their identities have been ascertained. Plaintiff is

   informed and believes that each of the DOE Defendants were responsible in some manner for the

   injuries and damages alleged herein, and/or for the wrongful acts ofsome or all ofthe Defendants.



                                                  11
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24      Page 13 of 26 PageID #:
                                              13



          27.     Plaintiff is further informed and believes that each of the Defendants, whether

   specifically named or named as a DOE, was an agent, employee, servant and/or representative of

   each of the remaining Defendants, and, in doing or failing to do the things alleged herein, was

   acting within the course and scope of said agency, employment, service and/or representation.

          28.     Plaintiff is further informed and believes that each of the Defendants, whether

   specifically named herein or named as a DOE,approved,ratified and/or acquiesced in the acts and

   omissions of each of the remaining Defendants.

          29.     Plaintiff is further informed and believes that each of the Defendants herein,

   whether named as DOES or otherwise, acted in concert, agreement and conspiracy with the other

   Defendants for the common purpose of engaging in a scheme to defraud as alleged below.

                THE CARES ACT AND PAYCHECK PROTECTION PROGRAM

          30.     On March 27,2020, the Coronavirus Aid, Relief, and Economic Security Act("the

   CARES Act" or "the Act")(Pub. L. 116-136)became law and provided emergency assistance and

   health care response for eligible individuals, families, and businesses affected by the coronavirus

   pandemic. SBA received funding and authority through the Act to modify existing loan programs

   and establish a new loan program to assist small businesses nationwide adversely impacted by the

   COVID-19 emergency.

          31.     The CARES Act authorized loans to eligible small businesses struggling to pay

   employees and stay in business as a result of the devastating effect of the COVID-19 pandemic

   and resulting restrictions.

          32.     Section 1102 of the CARES Act temporarily permitted the SBA to guarantee 100

   percent of7(a) loans under a new program titled the "Paycheck Protection Program"("PPP").




                                                   12
Case 1:24-cv-00899-ARR-LKE             Document 1         Filed 02/06/24      Page 14 of 26 PageID #:
                                               14



          33.     On April 24,2020,the Paycheck Protection Program and Health Care Enhancement

   Act (Pub. L. 116-139) was enacted to provide additional funding and authority for the PPP. On

   June 5, 2020, the PPP Flexibility Act of 2020 (Flexibility Act)(Pub. L. 116-142) was enacted,

   changing key provisions ofthe PPP,including provisions relating to the maturity ofPPP loans, the

   deferral ofPPP loan payments, and the forgiveness ofPPP loans.

          34.     Under the PPP,in 2020, eligible businesses could obtain one SBA guaranteed PPP

   loan. Businesses were required to spend all loan proceeds only for employee compensation, rent

   or mortgage, and certain other specified expenses. Depending on their use of the loan proceeds as

   certified, they could qualify for loan forgiveness, up to the full amount of the loan.

          35.     The SBA delegated authority to third-party lenders to underwrite and approve the

   PPP loans. In order to obtain a PPP loan, whether a "First Draw" or "Second Draw" loan, an

   eligible business (through its authorized representative) had to sign and submit a PPP loan

   application (SBA Form 2483) online through the lender's platform. The PPP loan application

  (SBA Form 2483) required the business (through its representative) to acknowledge the PPP

   program rules and make certain certifications in order to be eligible to obtain the PPP loan,

   including certifying that their certifications were true.

          36.     Once the Borrower submitted its PPP loan application (SBA Form 2483) to a

   Lender,the participating lender processed the PPP loan application. Ifa PPP loan application(SBA

   Form 2483) was approved by the lender, it funded the PPP loan with its own funds, which were

   100% guaranteed by the SBA.

          37.     After the Lender processed and approved a borrower's PPP loan application(Form

   2483), but prior to the closing of the PPP loan, the Lender submitted to the SBA, the Lender's

   Application - Paycheck Protection Program Loan Guaranty(SBA Form 2484)to the SBA applying




                                                     13
Case 1:24-cv-00899-ARR-LKE             Document 1      Filed 02/06/24       Page 15 of 26 PageID #:
                                               15



   for a guarantee on the loan. For a PPP loan to be approved, the Lender was required to Answer

   Yes to the following questions in the Lender's Application - Paycheck Protection Program Loan

   Guaranty(SBA Form 2484)as to the Borrower's certification of its General Eligibility to receive

   a PPP Loan:


                 The Applicant has certified to the Lender that(1) it was in □Yes         □ No
                 operation on February 15, 2020, has not permanently
                 closed, and was either an eligible self-employed individual,
                 independent contractor, or sole proprietorship with no
                 employees or had employees for whom it paid salaries and
                 payroll taxes or paid independent contractors, as reported on
                 Form(s) 1099MISC; (2) current economic imcertainty
                 makes this loan request necessary to support the ongoing
                 operations of the Applicant; (3) the funds will be used to
                 retain workers and maintain payroll, or make payments for
                 mortgage interest, rent, utilities, covered operations
                 expenditures, covered property damage costs, covered
                 supplier costs, and covered worker protection expenditures;
                 and (4) the Applicant has not and will not receive another
                 loan under the Paycheck Protection Program, section
                 7(a)(36) of the Small Business Act(15 U.S.C. 636(a)(36))
                (this does not include Paycheck Protection Program second
                draw loans, section 7(a)(37) of the Small Business Act(15
                 U.S.C. 636(a)(37)).
          SBA Form 2484 (emphasis added). Therefore, if a PPP borrower lied on its PPP loan

   application (SBA Forni 2483), the PPP borrower's false certification caused the Lender to submit

   to the SBA with respect to that PPP Loan, a Lender's Application - Paycheck Protection Program

   Loan Guaranty (SBA Form 2484) that contained the PPP borrower's False Statement.

          38.      SBA Forni 2483 includes the following certification, among others: "I have read

   the statements included in this form, including the Statements Required by Law and Executive

   Orders, and I understand them" (the "Understanding Certification").

          39.      SBA Form 2483 also includes the following certification, among others: "The

   Applicant is eligible to receive a loan under the rules in effect at the time this application is

   submitted that have been issued by the Small Business Administration (SBA) implementing the

                                                  14
Case 1:24-cv-00899-ARR-LKE           Document 1        Filed 02/06/24      Page 16 of 26 PageID #:
                                             16



   Paycheck Protection Program under Division A, Title I of the Coronavirus Aid, Relief, and

   Economic Security Act(CARES Act)(the Paycheck Protection Program Rule)"(the "Eligibility

   Certification").

          40.     SBA Form 2483 also includes the following certification, among others: "The

   Applicant(1)is an independent contractor, eligible self-employed individual, or sole proprietor or

  (2) employs no more than the greater of 500 or employees or, if applicable, the size standard in

   number of employees established by the SBA in 13 C.F.R. 121.201 for the Applicant's industry"

  (the "Size Certification").

          41.     SBA Form 2483 also includes the following certification, among others "All SBA

   loan proceeds will be used only for business-related pxuposes as specified in the loan application

   and consistent with the Paycheck Protection Program Rule"(the "Use ofProceeds Certification").

          42.     SBA Form 2483 also includes the following certification, among others: "Current

   economic uncertainty makes this loan request necessary to support the ongoing operations of the

   Applicant"(the "Economic Necessity Certification").

          43.     SBA Form 2483 also includes the following certification, among others:"The funds

   will be used to retain workers and maintain payroll or make mortgage interest payments, lease

   payments, and utility payments, as specified under the Paycheck Protection Program Rule; I

   understand that ifthe funds are knowingly used for unauthorized purposes,the federal govemment

   may hold me legally liable, such as for charges of fraud" (the "Worker Retention and Payroll

   Certification").

          44.     SBA Form 2483 also includes the following certification, among others: "During

   the period beginning on February 15, 2020 and ending on December 31, 2020, the Applicant has




                                                  15
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24        Page 17 of 26 PageID #:
                                              17



   not and will not receive another loan under the Paycheck Protection Program"(the "Single Loan

   Certification").

          45.     SBA Form 2483 also includes the following certification, among others: "I further

   certify that the information provided in this application and the information provided in all

   supporting documents and forms is true and accurate in all material respects. I understand that

   knowingly making a false statement to obtain a guaranteed loan fi-om SBA is punishable under the

   law, including under 18 USC 1001 and 3571 by imprisonment of not more than five years and/or

   a fine of up to $250,000; under 15 USC 645 by imprisonment of not more than two years and/or a

   fine of not more than $5,000; and, if submitted to a federally insured institution, under 18 USC

   1014 by imprisonment of not more than thirty years and/or a fine of not more than $1,000,000"

  (the "No False Statements Certification").

          46.     After the borrower submitted a PPP loan application, it was processed by the

   participating lender. Ifthe PPP loan application was approved, the participating lender funded the

   loan using its own monies, which were then guaranteed by the SBA. Generally, in the event the

   borrower defaulted on a PPP loan, the SBA would purchase the borrower's debt fi-om the lender

   and be responsible for its repayment.

          47.     Under applicable SBA rules and guidance, recipients of PPP loans could apply to

   have principal and interest on the PPP loan fully forgiven, meaning that the borrower would owe

   nothing and would have no obligation to repay the PPP loan. To obtain full forgiveness ofthe PPP

   loan, borrowers had to attest that they had "not reduced the number of employees or the average

   paid hours of[their] employees" during the loan period, that the loan proceeds had been spent on

   payroll costs and other permitted expenses and that at least 60% of the loan proceeds had been

   spent on payroll costs (hereafter the "Loan Forgiveness Certification").




                                                   16
Case 1:24-cv-00899-ARR-LKE              Document 1       Filed 02/06/24      Page 18 of 26 PageID #:
                                                18



          48.     Loans could only be used for certain permitted expenses,such as to pay employees'

   salaries, employee benefits, mortgage interest, rent, utilities or worker protection costs related to

   C0VID19.


          49.     More specifically, the loan forgiveness application(SBA Form 3508),revised as of

   July 30, 2021, included the following certifications, among others:

          (1)     The dollar amount for which forgiveness is requested:

          ■       was used to pay costs that are eligible for forgiveness (payroll costs to retain

          employees; business mortgage interest payments; business rent or lease payments; or

          business utility payments);

          ■       includes all applicable reductions due to decreases in the number of fiill-time

          equivalent employees and salary/hourly wage reductions;

          ■       includes payroll costs equal to at least 60% ofthe forgiveness amount;

          ■       if a 24-week Covered Period applies, does not exceed 2.5 months' worth of 2019

          compensation for any owner-employee or self-employed individual/general partner,

          capped at $20,833 per individual; and

          ■       if the Borrower has elected an 8-week Covered Period, does not exceed 8 weeks'

          worth of2019 compensation for any owner-employee or self-employed individual/general

          partner, capped at $15,385 per individual.

          (2)     I understand that if the funds were knowingly used for unauthorized purposes, the

          federal government may pursue recovery of loan amounts and/or civil or criminal fraud

          charges.

          (3)     The Borrower has accurately verified the payments for the eligible payroll and

          nonpayroll costs for which the Borrower is requesting forgiveness.




                                                    17
Case 1:24-cv-00899-ARR-LKE           Document 1        Filed 02/06/24      Page 19 of 26 PageID #:
                                             19



         (4)     The Borrower's eligibility for loan forgiveness will be evaluated in accordance with

          the PPP regulations and guidance issued by SBA through the date ofthis application.

                                     DEFENDANTS'FRAUD


          50.    During round 1 of the PPP, Defendant ASTRA applied for a PPP loan for

   $9,583,500.00. It was approved on May 6, 2020, by the SBA for the full amount, which was

   disbursed. The loan was facilitated by Dime Community Bank. Defendant received 100% of the

   approved amount. On its application for this loan. Defendant stated that it had exactly 500

   employees for which it needed the loan. This loan was forgiven as of June 11, 2021.

          51.    During round 1 of the PPP, Defendant AFILIATE 1 applied for a PPP loan for

   $5,111,400.00. It was approved on April 30, 2020, by the SBA for the full amount, which was

   disbursed. The loan was facilitated by The Bank of Greene County. Defendant received 100% of

   the approved amount. On its application for this loan. Defendant stated that it had exactly 500

   employees for which it needed the loan. This loan was forgiven as of August 4, 2021.

          52.    During round 1 of the PPP, Defendant AFILIATE 2 applied for a PPP loan for

   $416,500.00. It was approved on April 29, 2020, by the SBA for the full amount, which was

   disbursed. The loan was facilitated by Loan Source Incorporated. Defendant received 100% ofthe

   approved amount. On its application for this loan, Defendant stated that it had exactly 21

   employees for which it needed the loan. This loan was forgiven as of March 31, 2021.

          53.    During round 1 of the PPP, Defendant AFILIATE 3 applied for a PPP loan for

   $176,700.00. It was approved on April 30, 2020, by the SBA for the full amount, which was

   disbursed. The loan was facilitated by Loan Source Incorporated. Defendant received 100% ofthe

   approved amount. On its application for this loan. Defendant stated that it had exactly 23

   employees for which it needed the loan. This loan was forgiven as of June 11, 2021.




                                                  18
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24     Page 20 of 26 PageID #:
                                              20



          54.    As an assisted living home healthcare agency,the Defendants serve as a middleman

   between workers seeking employment as home caregivers and at-home care recipients or

   businesses that provide such services that need at-home caregivers. When the Defendants place a

   home healthcare worker, the individual or business then pays the worker's wages directly to the

   Defendants, who then takes a cut of that pay and then pays the worker. The Defendants operate

   offofplatforms like care.com, where they offer services to individuals seeking assistance at home.

   The Defendants only have a small, internal administrative staff of professionals who are on their

   payroll (the "Payroll Staff). The Payroll Staff recruit, organize and broker the actual home

   healthcare workers who perform the assisted living work and who are not on the Defendants'

   payroll. The Defendants do not have any payment or employment obligation to the non Payroll

   Staff, which is the vast number of other workers on the Defendants' roster who are not part ofthe

   Payroll Staff, and are only ever obligated to pay these other workers when they have been placed

   with a client. When these non-Payroll Staff are placed at a client, the client pays these workers'

   wages. In other words, the Defendants are only required to pay these non Payroll Staff workers

   when someone else is paying them.

          55.     The individual defendants who founded ASTRA in 2011 knew their business model

   well when they applied for the PPP Loans. The individual defendants understood that the proceeds

   of the PPP loans would simply just pad their profits. Therefore, when Defendants made the

   Economic Necessity Certification, the certification was false.

          56.     The Defendants, as veterans of the assisted living home healthcare industry, knew

   that the COVID-19 pandemic presented a unique opportunity for the, to make much more money

   than in the absence of the pandemic. As industry veterans they knew that the COMPANY




                                                   19
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24       Page 21 of 26 PageID #:
                                              21



   DEFENDANTS would experience an economic boon during a health crisis and that the Economic

   Necessity Certification was false when they made it.

          57.     The Defendants also knew when they claimed each of ASTRA and AFFILIATE 1

   had exactly 500 employees that such a statement was false. First, neither of ASTRA nor

   AFFILIATE 1 had exactly 500 employees. Then, ASTRA and AFFILIATE 1 inflated their

   numbers to include fakejobs in order to receiye larger PPP loans and pad corporate profits. In fact,

   none of the COMPANY DEFENDANTS was eligible to receiye a single penny from the PPP

   because upon application ofthe SBA's Affiliation Rules,none ofthe COMPANY DEFENDANTS

   would be considered a small business.


          58.     In addition to applying any applicable business type ineligibility rules, all

   borrowers should carefully reyiew the required Economic Necessity Certification on the Borrower

   Application Form stating that "[cjurrent economic uncertainty makes this loan request necessary

   to support the ongoing operations of the Applicant."

          59.     The Defendants abused the PPP program, from misrepresenting their economic

   need for the loans to willfully ignoring their ineligibility, to maximizing the amount of the loans

   and then obtaining loan forgiyeness. Discoyery will reyeal where the millions in PPP funds were

   actually spent, but what is obyious is that Defendants did not need anv money from US taxpayers.

   The Defendants' business is and was highly profitable during the pandemic,just like most in their

   industry. They did not suffer any business loss and certainly had the money to pay their own

   workers' wages.

          60.     Defendants signed the loan applications, thereby endorsing the Understanding

   Certification, which means that they agreed that they understood the rules and guidelines of the

   PPP,including, without limitation the rules regarding use ofproceeds and the certifications made.




                                                   20
Case 1:24-cv-00899-ARR-LKE             Document 1        Filed 02/06/24    Page 22 of 26 PageID #:
                                               22



            61.   The proceeds of the PPP Loans were not and could not have been used only for

   authorized purposes consistent with the PPP Rule, because, among other things, the Defendants

   were obviously not allowed to take PPP loans, in the amount received, because of their smaller

   size. Therefore, when Defendants made the Use of Proceeds Certification, the certification was

   false.

            62.   The PPP loan money was only allowed to be used on authorized expenses. The

   proceeds of the PPP Loan were not needed to retain imaginary workers and maintain payroll,

   therefore when Defendant made the Worker Retention and Payroll Certification, the certification

   was false.


            63.   By virtue of the above false statements, when Defendants made the No False

   Statements Certification, that certification was false.

            64.   The Defendants actively pursued and obtained loan forgiveness. Because the

   COMPANY DEFENDANTS were prohibited from obtaining any PPP loans, its representation on

   its forgiveness application that it spent 100% of the loan proceeds on eligible expenses was not

   truthful. The SBA would not have forgiven the loans if they knew Defendants' certifications

   described above were false. They also would not have forgiven the loans ifthey knew the proceeds

   had been used to increase profits instead of paying their employees.

            65.   As a result of the forgiveness. Defendants have not repaid the loan and have kept

   the proceeds, and the loan has been repaid with money from taxpayers, including the small

   businesses and owners who were supposed to receive the PPP funds instead of repaying a

   profitable assisted living home healthcare company's loan that it never should have received, let

   alone had forgiven.




                                                    21
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24       Page 23 of 26 PageID #:
                                              23



                                     THE FALSE CLAIMS ACT


          66.     The False Claims Act prohibits fraudulent conduct in connection with federal

   programs, including the knowing submission of false claims for payment to the government. See

   31 U.S.C. § 3729(a)(1)(A). In these circumstances, liability may attach if the omission renders

   those representations misleading. 41. 31 U.S.C. § 3729(a)(1)(A) and(B)of the FCA provide that:

          (1)... any person who—

          (A)knowingly presents, or causes to be presented, a false or fraudulent

   claim for payment or approval;[or]

          (B)knowingly makes, uses, or causes to be made or used, a false

   record or statement material to a false or fraudulent claim,




          (G) knowingly makes, uses, or causes to be made or used, a false record or statement

   material to an obligation to pay or transmit money or property to the Government, or knowingly

   conceals or knowingly and improperly avoids or decreases an obligation to pay or transmit money

   or property to the Government, is liable to the United States Government...

          31 U.S.C. § 3729(a)(1)(A),(B), and(G)(2020).

          42. The scope ofa false or fraudulent claim is to be broadly construed. As used in the FCA,

   a "claim"


          (A) means any request or demand, whether under a contract or otherwise, for money or

   property and whether or not the United States has title to the money or property, that—

          (i) is presented to an officer, employee, or agent of the United States;

   or




                                                   22
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24       Page 24 of 26 PageID #:
                                              24



          (ii) is made to a contractor, grantee, or other recipient, if the money or property is to be

   spent or used on the Government's behalf or to advance a Government program or interest, and if

   the United States Government—


          (I) provides or has provided any portion ofthe money or property requested or demanded;

   or



          (II) will reimburse such contractor, grantee, or other recipient for any portion ofthe money

   or property which is requested or demanded;...

          31 U.S.C. § 3729(b)(2)(2020).

          67.     A person who violates the False Claims Act during the time period at issue "is liable

   for a civil penalty as adjusted, plus 3 times the amount of damages which the United States

   Govemment sustains because of the act of that person." 31 U.S.C. § 3729(a). See 28 C.F.R. §

   85.3(a)(9); Department ofJustice,28 CFRPart 85,Civil Monetary Penalties Inflation Adjustments

   for 2022 published at: https://www.govinfo.gOv/content/pkg/FR-2022-05-09/COMMERCE/2022-

   09928.COMMERCE.


                                    FIRST CAUSE OF ACTION


                FALSE OR FRAUDULENT CLAIMS(31 U.S.C.§ 3729(a)(l)(A-B))

          68.    Plaintiff alleges and incorporates by reference each and every allegation contained

   in all prior paragraphs ofthis complaint.

          69.    This is a claim for treble damages and penalties under the False Claims Act, 31

   U.S.C. § 3729, et seq., as amended.

          70.    By virtue of the acts described above. Defendants knowingly presented, or caused

   to be presented, to an officer or employee of the United States govemment, false or fraudulent

   claims for payment or approval, in violation of the FCA,31 U.S.C. § 3729(a)(1)(A). Specifically,



                                                   23
Case 1:24-cv-00899-ARR-LKE            Document 1        Filed 02/06/24       Page 25 of 26 PageID #:
                                              25



   each of Defendants' Econoniic Necessity, No False Statements, Eligibility, Use of Proceeds,

   Understanding, Worker Retention and Payroll Certifications described above all were knowingly

   false, and relied upon by lenders and the SBA in approving the PPP Loans. Their request for

   forgiveness contained a further misrepresentation that the loans had been used only for authorized

   purposes.


          71.      By virtue of the acts described above. Defendants knowingly made or used, or

   caused to be made or used, false or fraudulent records or statements material to false or fraudulent

   claims for payment by the Government.

          72.      The Government and its agents and contractors relied on those false statements in

   approving and making the loans and subsequently forgiving them,leaving the burden ofrepayment

   on taxpayers.

          73.      Because ofthe Defendants' acts, the United States sustained damages in an amount

   to be determined at trial and, therefore, is entitled to treble damages under the FCA, plus civil

   penalties of not less than $12,537.00 and not more than $25,076.00 for each and every violation

   arising from Defendants' unlawful conduct alleged herein, and attorneys' fees in an amount to be

   proven.


                                            CONCLUSION


          74.      The Defendants abused the PPP. The PPP was meant for struggling businesses.

   Now that program is dry. The American people have a right to reconciliation.

                                       PRAYER FOR RELIEF


          WHEREFORE, qui tam Plaintiff/Relator prays for judgment against Defendants, as

   follows:




                                                   24
Case 1:24-cv-00899-ARR-LKE             Document 1        Filed 02/06/24       Page 26 of 26 PageID #:
                                               26



           1. That this Court enterjudgment against each Defendant in an amount equal to three times

   the damages that the United States has sustained because ofDefendants' action, plus a civil penalty

   of not less than $12,537.00 and not more than $25,076.00 for each and every false claim as are

   required by law, together with all such further relief as may be just and proper.

          2. Such other relief as this Court may deem just and proper, together with interest and costs

   of this action.


          3. Reasonable attorney fees, litigation expenses, and costs of suit.

                                            JURY DEMAND


          Plaintiff demands a trial by jury on all issues so triable.



    Dated: February 5, 2024                         Respectfully submitted.



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                                                    25
